









THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        South Carolina Department of Social Services, Respondent,
        v.
        JoAnn E. N. and Russell P. K., Defendants,
        Of whom Russell P. K. is the Appellant.
      
    
  

In the
  interest of five minor children under the age of 18 years.

Appeal From Horry County
Ronald R. Norton, Family Court Judge

Unpublished Opinion No.&nbsp; 2011-UP-414 
  Submitted September 1, 2011  Filed
September 6, 2011

AFFIRMED


  
    
      
        Heather Michelle Cannon, of Myrtle Beach, for Appellant.
        Tonia Elizabeth Medrick, of Conway, for Respondent.
        Carolyn R. Hills, of Myrtle Beach, for Guardian ad Litem
      
    
  

PER CURIAM: Russell P. K. appeals from the family court's final order
  terminating his parental rights to five minor children.&nbsp; See S.C. Code Ann. § 63-7-2570 (2010).&nbsp; Upon a
  thorough review of the record and the family court's findings of fact and
  conclusions of law pursuant to Ex Parte Cauthen, 291 S.C. 465, 354
  S.E.2d 381 (1987), we find no meritorious issues warrant briefing.&nbsp; Accordingly,
  we affirm the family court's ruling. 
AFFIRMED.[1]
FEW, C.J., THOMAS
  and KONDUROS, JJ., concur. 


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

